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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 ROBERT MAY, as Administrator for the             )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER            )
 HALL, as Administrator for the Estate of         )
 Bradley Hall and MATTHEW BENJAMIN                )
 COOLEY,                                          )
                                                  )
                        Plaintiff,                )
                                                  )
        v.                                        )
                                                  )
 FORD MOTOR COMPANY,                              )
                                                  )
                        Defendant.

    FORD MOTOR COMPANY’S MEMORANDUM OF LAW IN SUPPORT OF ITS
    MOTION IN LIMINE TO EXCLUDE EVIDENCE PERTAINING TO POST-SALE
        CHANGES TO THE DESIGN OF FORD TAURUS AUTOMOBILES

        Defendant Ford Motor Company (“Ford”) anticipates that the Plaintiffs will support their

 claims with evidence of post-sale design changes to the Ford Taurus model. Design changes

 occurring after the sale of the automobile involved in this case are irrelevant and therefore

 inadmissible pursuant to Fed. R. Evid. 402. Alternatively, such evidence should be excluded

 under Fed. R. Evid. 403 because its probative value would be substantially outweighed by the

 danger of unfair prejudice, confusion of the issues, or misleading the jury. Moreover, evidence

 of design changes occurring after the Plaintiffs’ accident should be excluded for the additional

 reason that it is inadmissible pursuant to Fed. R. Evid. 407.

   I.   Post-sale design changes to the Ford Taurus Model are inadmissible because they
        are irrelevant, or, in the alternative, because their probative value would be
        substantially outweighed by the danger of unfair prejudice, confusion of the issues,
        or misleading the jury .

        “‘Relevant evidence’ means evidence having any tendency to make the existence of any

 fact that is of consequence to the determination of the action more probable or less probable than
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 it would be without the evidence.” Fed. R. Evid. 401. In this case, two factual issues are of

 consequence: (1) whether the Plaintiffs’ automobile was defective such that it was unreasonably

 dangerous at the time it was sold, Nichols v. Union Underwear Co., 602 S.W.2d 429, 432-33

 (Ky. 1980); and (2) if so, whether that defect caused the Plaintiffs’ accident. The fact that Ford

 may have changed the design of the Ford Taurus model after the sale of the Plaintiffs’

 automobile has no bearing on either of those questions.

        The Plaintiffs will likely argue that design changes are evidence that Ford identified

 defects in the Ford Taurus model, but this is unavailing for a number of reasons. First, design

 changes can be made for any number of reasons that have nothing to do with defects. And even

 if a design change were made in response to a defect, that does not necessarily mean that the

 particular defect addressed by the design change has any connection to this case. For example,

 design changes to defective door locks would have nothing to do with the ultimate issues here.

 Moreover, and perhaps most importantly, post-sale design changes have no bearing on the

 question of whether the Plaintiffs’ automobile was unreasonably dangerous at the time it was

 sold. Post-sale design changes indicate nothing more than that Ford found a better way to design

 the Taurus model. This says absolutely nothing about whether the Plaintiffs’ automobile was

 unreasonably dangerous at the time it was sold. See Grenada Steel Indus., Inc. v. Ala. Oxygen

 Co., 695 F.2d 883, 889 (5th Cir. 1983) (holding that evidence of post-sale design changes was

 not relevant to whether the product was reasonably safe at the time it was made). In short, the

 relevant time period is when the automobile was sold, and anything that happened after that point

 has no bearing on the question of whether the automobile was unreasonably dangerous at that

 point. As a result, post-sale design changes are irrelevant, and therefore inadmissible. Fed. R.

 Evid. 402.



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        But even if the Court were to rule that evidence of post-sale changes is somehow

 relevant, that evidence should still be excluded pursuant to Fed. R. Evid. 403. Subsequent

 remedial measures are, at best, marginally probative of prior negligence. See Keller v. United

 States, 38 F.3d 16, 31 (1st Cir. 1994). Here, this minimal probative value would be substantially

 outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury. If

 the jury is allowed to hear evidence of post-sale design changes, it would likely conclude that the

 design changes must have been made to correct defects, which would therefore lead it to

 conclude that the Plaintiffs’ accident must have been caused by such a defect. This would

 obviously be very prejudicial to Ford. Additionally, evidence of post-sale design changes would

 “confuse the jury by diverting its attention away from whether the product was defective at the

 relevant time [i.e., the time of sale] to what was done later.” Thakore v. Universal Mach. Co. of

 Pottstown, Inc., 670 F. Supp. 2d 705, 736 (quoting Grenada Steel Indus., Inc., 695 F.2d at 889).

 Taken together, all of these considerations easily, and substantially, outweigh whatever minimal

 probative value the evidence of post-sale design changes might have. Therefore, this evidence

 should be excluded under Fed. R. Evid. 403.

  II.   Post-accident design changes to the Ford Taurus Model are inadmissible pursuant
        to Fed. R. Evid. 407.

        It is black letter law that post-accident design changes are “not admissible to prove

 negligence, culpable conduct, a defect in a product, a defect in a product’s design, or a need for a

 warning or instruction.” Fed. R. Evid. 407. Therefore, all post-accident design changes should

 be ruled inadmissible for those purposes.




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                                        CONCLUSION

        For the foregoing reasons, Ford respectfully requests that evidence of post-sale design

 changes to the Ford Taurus model be ruled inadmissible.


                                               FROST BROWN TODD LLC

                                               By: /s/ Kevin C. Schiferl
                                                  Kevin C. Schiferl
                                                  Attorneys for Defendant FORD MOTOR
                                                  COMPANY




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                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to the following parties by operation of the

 Court’s electronic filing system. Parties may access this filing through the Court’s system.

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